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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
 In Re:                                                      Case No. 16-62019
                                                             Claim No. : 2
   AMY ELIZABETH BARNES

          Debtor(s)

                 AMENDED NOTICE OF CREDITOR CHANGE OF ADDRESS
 The creditor in the above entitled case hereby requests that the mailing address pertaining to
 NOTICES AND PAYMENTS, listed in the above stated case be changed.

 Please note that we have rebranded our company name from Ascension
 Capital Group to AIS Portfolio Services. There is no assignment or transfer of
 claim.

 Address where Notices to the creditor be sent:

  From                                               To

                                                     Capital One Auto Finance c/o AIS
                                                     Portfolio Services, LP f/k/a AIS Data
  Capital One Auto Finance, c/o                      Services d/b/a/ Ascension Capital
  Ascension Capital Group                            Group

  P.O. Box 201347                                    4515 N Santa Fe Ave. Dept. APS

  Arlington, TX 76006                                Oklahoma City, OK 73118


 Address where Payment to the creditor be sent:

                                                    Capital One Auto Finance c/o AIS
                                                    Portfolio Services, LP f/k/a AIS Data
  Capital One Auto Finance, c/o
                                                    Services d/b/a/ Ascension Capital Group
  Ascension Capital Group

  P.O. Box 201347                                    P.O. BOX 4360

  Arlington, TX 76006                                Houston, TX 77210-4360



                                                    /s/ Marian Garza
  Date: 12/14/2017
                                                   Creditor's Authorized Agent for Capital
                                                   One, N.A.
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 AIS Data Services Is Now AIS Portfolio Services


 To whom it may concern,

 As part of a rebranding effort, AIS Data Services, LP, which also did business as Ascension Capital Group,
 has changed its name to AIS Portfolio Services, LP.

 Effective October 16, 2017, both AIS Data Services and Ascension Capital Group names will be retired.
 All filings after the effective date will only include the new name, AIS Portfolio Services, LP.
 We will not amend existing claims filed before the effective date for this name change. Thank you in
 advance for your prompt attention to this matter.
 If you have questions or concerns regarding the above, please do not hesitate to contact AIS Portfolio
 Services at 1-888-455-6662.


 Sincerely,




 CG Mokris | Vice President
 AIS Portfolio Services, LP

     AIS Portfolio Services, LP   •   1212 Corporate Drive, Suite 400   •   Irving, TX 75038   •   P: 817-277-2011
